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BTXN 050 (rev. 07/11)
                                   UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF TEXAS


In Re:                                                   §
Lauren Engineers & Constructors, Inc.                    §    Case No.: 21−10051−rlj7
                                                         §    Chapter No.: 7
P.O. Box 1761                                            §
Abilene, TX 79604−1761                                   §
                                        Debtor(s)        §
                                                         §


                            NOTICE OF FILING OF PROOF OF CLAIM
     In accordance with Bankruptcy Rule 3004, notice is hereby given that on 2/25/2021
a Proof of Claim was filed by the debtor on behalf of Lauren Engineers & Constructors Inc in the total amount of
$54917.87.

     A Proof of Claim filed by a creditor pursuant to Bankruptcy Rule 3002(c) or Rule 3003(c) shall supersede the
claim that has been filed on your behalf.

     To file a Proof of Claim, please visit www.txnb.uscourts.gov. Should you have any questions regarding this
matter, please contact our Help Desk at (800) 442−6850.



DATED: 5/26/21                                FOR THE COURT:
                                              Robert P. Colwell, Clerk of Court

                                              by: /s/Deanna Chambers, Deputy Clerk
